       Case: 1:24-cv-00024-DAR Doc #: 7 Filed: 02/23/24 1 of 1. PageID #: 33




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



JOHN KOE,                                   )      CASE NO. 1:24 CV 0024
                                            )
       Plaintiff,                           )      JUDGE DAVID A. RUIZ
                                            )
       v.                                   )
                                            )      JUDGMENT ENTRY
UNIVERSITY HOSPITALS                        )
HEALTH SYSTEM, INC., et al.,                )
                                            )
       Defendants.                          )


       For the reasons stated in this Court’s Memorandum of Opinion, this action is dismissed.

Further, the Court CERTIFIES pursuant to 28 U.S.C. §1915(a)(3) that an appeal from this decision

could not be taken in good faith.

       IT IS SO ORDERED.


Dated: February 23, 2024                           s/ David A. Ruiz
                                                   David A. Ruiz
                                                   United States District Judge
